Case 6:09-cr-60006-RTD Document 91   Filed 11/09/09 Page 1 of 6 PageID #: 204
Case 6:09-cr-60006-RTD Document 91   Filed 11/09/09 Page 2 of 6 PageID #: 205
Case 6:09-cr-60006-RTD Document 91   Filed 11/09/09 Page 3 of 6 PageID #: 206
Case 6:09-cr-60006-RTD Document 91   Filed 11/09/09 Page 4 of 6 PageID #: 207
Case 6:09-cr-60006-RTD Document 91   Filed 11/09/09 Page 5 of 6 PageID #: 208
Case 6:09-cr-60006-RTD Document 91   Filed 11/09/09 Page 6 of 6 PageID #: 209
